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                                6
                                     Attorneys for Plaintiff and Consolidated Case Defendant
                                7    THE VINEYARD HOUSE

                                8                               UNITED STATES DISTRICT COURT

                                9                     NORTHERN DISTRICT OF CALIFORNIA – OAKLAND

                          10
                          11 THE VINEYARD HOUSE,                                          CASE NO. 4:19-cv-1424-YGR
                          12                        Plaintiff and Consolidated Case       JOINT PROPOSED AGENDA FOR
                                                    Defendant,                            NOVEMBER 12, 2020, PRETRIAL
                          13                                                              CONFERENCE
                                            vs.
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                                    CONSTELLATION BRANDS U.S.
                          15 OPERATIONS, INC.,
                          16                        Defendant and Consolidated Case
                                                    Plaintiff.
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      BUCHALTER
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       SAN FR ANCISCO
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                                    JOINT PROPOSED AGENDA FOR 11/12/20 PRETRIAL CONFERENCE – CASE NO. 4:19-CV-1424-YGR
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                                1           In response to the Court’s request, the parties to the above-captioned action jointly
                                2 propose the following agenda for the Pretrial Conference set by the Court for Thursday,
                                3 December 12, 2020, as follows:
                                4           1.      Expert Witness Trial Watching. The parties jointly request the Court’s leave to
                                5 allow their respective expert witnesses (including percipient experts) to watch trial testimony.
                                6           2.      Handling of Deposition Designations. The parties ask the Court to clarify whether
                                7 designated deposition testimony shall be read into the trial record, or whether the designations,
                                8 counter-designations, and objections set forth on Dkt. No.189 shall be admitted into the trial
                                9 record.
                          10                3.      Transcript of Deposition of Robert Mondavi. The parties ask the Court to clarify
                          11 whether the transcript of the deposition of Robert Mondavi, marked for identification as TX1062
                          12 (the “Mondavi Tr.”), shall be admitted in its entirety, or whether the parties shall submit
                          13 designations and counter-designations of excerpts.
                          14                4.      Rules, Instructions, and Admonitions for Zoom Trial Witnesses. In response to the
                          15 Court’s request, the parties have jointly prepared a set of questions and admonitions to be read to
                          16 each trial witness before examination begins for the Court’s consideration and, subject to the
                          17 Court’s comments, adoption for use at trial, attached hereto as Exhibit A.
                          18                5.      Use of Confidential Documents During Trial. The protective order provides that
                          19 the use of confidential documents at trial “shall be governed by a separate agreement or order.”
                          20 Dkt. No. 42, at par. 3. The parties seek the Court’s guidance as to how it would prefer the parties
                          21 to handle confidential documents.
                          22 Respectfully submitted,
                          23 DATED: November 11, 2020                             BUCHALTER
                                                                                  A Professional Corporation
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                          25
                                                                                  By:                 /s/ Jeffrey M. Judd
                          26                                                                        PETER BALES
                                                                                                  JEFFREY M. JUDD
                          27                                                                         Attorneys for
                                                                                              THE VINEYARD HOUSE, LLC
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                                2 DATED: November 11, 2020               HUNTON ANDREWS KURTH LLP
                                                                         A Professional Corporation
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                                4
                                                                         By:              /s/ Erik C. Kane
                                5                                                    EDWARD T. COLBERT
                                                                                     WILLIAM M. MERONE
                                6                                                       ERIK C. KANE
                                                                                        ARMIN GHIAM
                                7                                                        Attorneys for
                                                                                  CONSTELLATION BRANDS U.S.
                                8                                                     OPERATIONS, INC.
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                                1                                               EXHIBIT A
                                2      RULES, INSTRUCTIONS, AND ADMONITIONS FOR ZOOM TRIAL WITNESSES
                                3           After a witness is sworn and prior to commencing examination, the Court shall read the
                                4 following admonitions and questions to each witness appearing at trial in the above-captioned
                                5 action:
                                6           1.      Please keep in mind that this is a formal United States District Court proceeding,
                                7 and act as if you were present in the courtroom.
                                8           2.      Court Reporter present on Zoom is preparing a written record of everything that is
                                9 said during the proceeding. Please wait until the person speaking has finished before responding
                          10 to help our Court Reporter to create a clean and accurate record.
                          11                3.      Please confirm that you have the requisite hardware, software, and internet
                          12 resources for the Zoom platform and are sufficiently familiar with accessing and using the Zoom
                          13 platform to provide testimony in this trial.
                          14                4.      Unless the Court requests, please do not mute yourself during your testimony.
                          15                5.      The Judge or Court Reporter may interrupt you from time to time. If that happens,
                          16 please stop speaking to allow the Judge or Court Reporter to speak.
                          17                6.      If we encounter any technical difficulties, please stop speaking until we can all
                          18 connect again. If a technical difficulty causes you to miss a statement or question, please inform
                          19 the Court immediately so the question or statement may be repeated.
                          20                7.      Please confirm that you have not monitored the trial, or any portion of it, by any
                          21 means, unless you are an expert witnesses for whom permission has been granted to do so.
                          22                8.      Please confirm that you will remain in a single, stationary location while
                          23 connected to the proceedings, except for any breaks the Court calls.
                          24                9.      Until you are excused by the Court, the following rules apply during your
                          25 testimony and during any breaks, except as specifically modified by the Court:
                          26                        a.     No other person is physically present in the room/location where you are
                          27 testifying.
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       SAN FR ANCISCO
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                                1                   b.     You are not to have any other Zoom platform or similar video or audio
                                2 conferencing open during your testimony.
                                3                   c.     You are not allowed to have open and are not allowed to use or access any
                                4 means of communication with any persons, including, but not limited to any telephone, cell
                                5 phone, text message, email, social media, or other chat/messaging platforms or applications while
                                6 you are testifying.
                                7                   d.     Except to the extent needed to access the Zoom platform and exhibits
                                8 introduced during the trial, you are not allowed to have any internet browsers, applications, or
                                9 other electronic devices or software open and accessible.
                          10                        e.     You are not allowed to look at or have access to any hard copy or
                          11 electronic documents, notes, or other materials while testifying other than those introduced at
                          12 trial.
                          13                10.     Do you understand these rules, instructions, and admonitions? Do you agree to
                          14 comply with these rules, instructions, and admonitions? Do you have any questions before we
                          15 proceed?
                          16                11.     Please identify the address, city, and state, and the physical location (such as an
                          17 office or kitchen) from where you are testifying.
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